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                 Com Ed, et al                                                                          15-00592

                                        CERTIFICATE OF SERVICE

      ,       Aaron Weinberg                        FHUWLI\WKDWVHUYLFHRIWKLVVXPPRQVDQGDFRS\RIWKH
FRPSODLQWZDVPDGH    8/17/2015                      E\

         ✔       0DLOVHUYLFH5HJXODUILUVWFODVV8QLWHG6WDWHVPDLOSRVWDJHIXOO\SUHSDLGDGGUHVVHG
                 WR
                     Please see attached service list A.

                 3HUVRQDO6HUYLFH%\OHDYLQJWKHSURFHVVZLWKWKHGHIHQGDQWRUZLWKDQRIILFHURU
                 DJHQWRIGHIHQGDQWDW



                 5HVLGHQFH6HUYLFH%\OHDYLQJWKHSURFHVVZLWKWKHIROORZLQJDGXOWDW




         ✔       &HUWLILHG0DLO6HUYLFHRQDQ,QVXUHG'HSRVLWRU\,QVWLWXWLRQ%\VHQGLQJWKHSURFHVV
                 E\FHUWLILHGPDLODGGUHVVHGWRWKHIROORZLQJRIILFHURIWKHGHIHQGDQWDW
                     Please see attached service list B.


                 3XEOLFDWLRQ7KHGHIHQGDQWZDVVHUYHGDVIROORZV>'HVFULEHEULHIO\@



                 6WDWH/DZ7KHGHIHQGDQWZDVVHUYHGSXUVXDQWWRWKHODZVRIWKH6WDWHRI                         
                 DVIROORZV>'HVFULEHEULHIO\@



        ,IVHUYLFHZDVPDGHE\SHUVRQDOVHUYLFHE\UHVLGHQFHVHUYLFHRUSXUVXDQWWRVWDWHODZ,
IXUWKHUFHUWLI\WKDW,DPDQGDWDOOWLPHVGXULQJWKHVHUYLFHRISURFHVVZDVQRWOHVVWKDQ\HDUVRI
DJHDQGQRWDSDUW\WRWKHPDWWHUFRQFHUQLQJZKLFKVHUYLFHRISURFHVVZDVPDGH

        8QGHUSHQDOW\RISHUMXU\,GHFODUHWKDWWKHIRUHJRLQJLVWUXHDQGFRUUHFW

'DWH             8/17/2015                           6LJQDWXUH /s/ Aaron Weinberg

        3ULQW1DPH             Aaron Weinberg
        %XVLQHVV$GGUHVV 20 S. Clark Street
                                28th Floor
                                Chicago, IL 60603
                                312-913-0625
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                                        SERVICE LIST A
Gm Financial |Po Box 181145|Arlington, TX 76096-1145| |||

Americredit Financial Services, Inc. Agent, Illinois Corporation Service C, 801 Adali Stevenson Drive,
Springfield, IL 62703

Americredit Financial Services, Inc. President, Daniel E Berce, 801 Cherry St. #3900, Fort Worth, TX
76102

Internal Revenue Service |P.O. Box 7346|Philadelphia, PA 19101-7346| |||

United States Attorney Office, Northern District of Illinois, Eastern Division, 219 S. Dearborn Street, 5th
Floor, Chicago, IL 60604

Iris Hooper |c/o Illinois Dept of Healthcare|PO Box 19405|Springfield, IL 62794-9405| ||

Med Business Bureau |Po Box 1219|Park Ridge, IL 60068-7219| |||

Medical Business Bureau, LLC, Agent, Eric Dennis Mock, 1460 Renaissance Dr. #400, Park Ridge, IL 60068

Medical Business Bureau, LLC, President, 1460 Renaissance Dr. Ste 400, Park Ridge, IL 60068

AmeriCredit Financial Services, Inc. dba GM |P O Box 183853|Arlington, TX 76096-3853| |||

AmeriCredit Financial Services, Inc. Agent, Illinois Corporation Service C, 801 Adali Stevenson Drive,
Springfield, IL 62703

AmeriCredit Financial Services, Inc, President, Daniel E Berce, 801 Cherry St. #3900 Fort Worth, TX 76102
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                                       SERVICE LIST B
City of Chicago Parking Tickets |333 South State Street Rm 540|Chicago, IL 60604-3951| |||

Arnold Scott Harris 111 W. Jackson Suite 600 Chicago, IL 60604

Com Ed |3532 Dale Dr|Crete, IL 60417-1353| |||

Com Ed, Agent Name Corporate Creations Network In, 350 S. Northwest Hwy 300, Park Ridge IL 60068

Com Ed, President Anne R Pramaggiore, 440 S. LaSalle St. Chicago, IL 60605

Credit Management Lp |4200 International Pkwy|Carrollton, TX 75007-1912| |||

Department of Children and Families |201 East Washington 2nd floor|po box 8916|Madison, WI 53708-
8916| ||

Enhanced Recovery Corp |Attention: Client Services|8014 Bayberry Rd|Jacksonville, FL 32256-7412| ||

G M A C |15303 S 94th Ave|Orland Park, IL 60462-3825| |||

Ally Financial Inc. Agent Name C T Corporation System, 208 So LaSalle St. Suite 814, Chicago, IL 60604

Ally Financial Inc. President, William F Muir 200, Renaissance Ctr Detroit, MI 48265

IL Tollway |2700 Ogden Ave|Downers Grove, IL 60515-1703| |||

Municollofam |3348 Ridge Road|Lansing, IL 60438-3112| |||

National Payment Center |US Dept of Education|PO Box 105028|Atlanta, GA 30348-5028| ||

Northwest Collectors |3601 Algonquin Rd Ste 23|Rolling Meadows, IL 60008-3143| |||

Northwest Collectors Inc. Agent, Bruce M Jancovic, 1420 Renaissance Drive 313, Park Ridge IL 60068

Northwest Collectors Inc. President, Adam F Crawford, 3601 Algonquin Rd. Rolling Meadows, IL 60008

Optimum Outcomes Inc |2651 Warrenville R|Downers Grove, IL 60515-5559| |||

Optimum Outcomes Inc. Agent, Illinois Corporation Service C, 801 Adali Stevenson Drive, Springfield IL
62703

Optimum Outcomes Inc. President, Bob Wilhelm, 2651 Warrenville Rd, Suite 500, Downers Grove, IL
60515

PLS |1006B 162nd Street|South Holland, IL 60473-2560| |||

PLS, Agent, Daniel Wilson, 3852 S. Indiana, Chicago, IL 60653
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Peoples Gas |Attention: Bankruptcy Department|130 E. Randolph 17th Floor|Chicago, IL 60601-6207| |

Peoples Gas, Willard Evans Jr., President, 130 E. Randolph Street, Chicago, IL 60601Stanley Shumake
|8100 Sawyer Street|Chicago, IL 60652-2609| |||

Stellar Recovery Inc |4500 Salisbury Rd Ste 10|Jacksonville, FL 32216-8035| |||

Stellar Recovery Inc, Agent, Business Filings Incorporated, 118 W Edwards, STE 200, Springfield, IL 62704

Stellar Recovery Inc, President, Keith Jones, 4500 Salisbury Rd, Suite 105, Jax, FL 32216

Tsi/980 |600 Holiday Dr|Matteson, IL 60443-2241| |||
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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

              In re:
              Bankruptcy Case No. 15−25019
              STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
              Adversary Proceeding No. 15−00592
              STEVEN SHUMAKE
              ASIA TATE
                                                                                                             Plaintiff
              v.
              CITY OF CHICAGO PARKING TICKETS
              COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: CITY OF CHICAGO PARKING TICKETS


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


             At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


             If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

             YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

             IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
             JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
             RELIEF DEMANDED IN THE COMPLAINT.
                   Date Issued


                   08 / 17 / 2015

                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

              In re:
              Bankruptcy Case No. 15−25019
              STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
              Adversary Proceeding No. 15−00592
              STEVEN SHUMAKE
              ASIA TATE
                                                                                                             Plaintiff
              v.
              CITY OF CHICAGO PARKING TICKETS
              COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: COMMONWEALTH EDISON


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


             At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


             If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

             YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

             IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
             JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
             RELIEF DEMANDED IN THE COMPLAINT.
                   Date Issued


                   08 / 17 / 2015

                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

              In re:
              Bankruptcy Case No. 15−25019
              STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
              Adversary Proceeding No. 15−00592
              STEVEN SHUMAKE
              ASIA TATE
                                                                                                             Plaintiff
              v.
              CITY OF CHICAGO PARKING TICKETS
              COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: CREDIT MANAGEMENT


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


             At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


             If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

             YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

             IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
             JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
             RELIEF DEMANDED IN THE COMPLAINT.
                   Date Issued


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                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

              In re:
              Bankruptcy Case No. 15−25019
              STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
              Adversary Proceeding No. 15−00592
              STEVEN SHUMAKE
              ASIA TATE
                                                                                                             Plaintiff
              v.
              CITY OF CHICAGO PARKING TICKETS
              COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: DEPARTMENT OF CHILDREN AND FAMILIES


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


             At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


             If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

             YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

             IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
             JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
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                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

              In re:
              Bankruptcy Case No. 15−25019
              STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
              Adversary Proceeding No. 15−00592
              STEVEN SHUMAKE
              ASIA TATE
                                                                                                             Plaintiff
              v.
              CITY OF CHICAGO PARKING TICKETS
              COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: ENHANCED RECOVERY CORPORATION


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


             At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


             If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

             YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

             IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
             JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
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                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

              In re:
              Bankruptcy Case No. 15−25019
              STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
              Adversary Proceeding No. 15−00592
              STEVEN SHUMAKE
              ASIA TATE
                                                                                                             Plaintiff
              v.
              CITY OF CHICAGO PARKING TICKETS
              COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: GMAC


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


             At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


             If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

             YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

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             JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
             RELIEF DEMANDED IN THE COMPLAINT.
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                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

              In re:
              Bankruptcy Case No. 15−25019
              STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
              Adversary Proceeding No. 15−00592
              STEVEN SHUMAKE
              ASIA TATE
                                                                                                             Plaintiff
              v.
              CITY OF CHICAGO PARKING TICKETS
              COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: GM FINANCIAL


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


             At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


             If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

             YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

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                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

              In re:
              Bankruptcy Case No. 15−25019
              STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
              Adversary Proceeding No. 15−00592
              STEVEN SHUMAKE
              ASIA TATE
                                                                                                             Plaintiff
              v.
              CITY OF CHICAGO PARKING TICKETS
              COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: ILLINOIS TOLLWAY


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


             At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


             If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

             YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

             IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
             JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
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                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

              In re:
              Bankruptcy Case No. 15−25019
              STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
              Adversary Proceeding No. 15−00592
              STEVEN SHUMAKE
              ASIA TATE
                                                                                                             Plaintiff
              v.
              CITY OF CHICAGO PARKING TICKETS
              COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: INTERNAL REVENUE SERVICE


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


             At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


             If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

             YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

             IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
             JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
             RELIEF DEMANDED IN THE COMPLAINT.
                   Date Issued


                   08 / 17 / 2015

                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



ILNB 2012
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            Case   15-00592 Doc
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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

              In re:
              Bankruptcy Case No. 15−25019
              STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
              Adversary Proceeding No. 15−00592
              STEVEN SHUMAKE
              ASIA TATE
                                                                                                             Plaintiff
              v.
              CITY OF CHICAGO PARKING TICKETS
              COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: ILLINOIS DEPARTMENT OF HEALTHCARE


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


             At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


             If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

             YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

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                   08 / 17 / 2015

                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

              In re:
              Bankruptcy Case No. 15−25019
              STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
              Adversary Proceeding No. 15−00592
              STEVEN SHUMAKE
              ASIA TATE
                                                                                                             Plaintiff
              v.
              CITY OF CHICAGO PARKING TICKETS
              COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: MEDICAL BUSINESS BUREAU INC


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


             At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


             If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

             YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

             IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
             JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
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                   Date Issued


                   08 / 17 / 2015

                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

              In re:
              Bankruptcy Case No. 15−25019
              STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
              Adversary Proceeding No. 15−00592
              STEVEN SHUMAKE
              ASIA TATE
                                                                                                             Plaintiff
              v.
              CITY OF CHICAGO PARKING TICKETS
              COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: MUNICOLLOFAM


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


             At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


             If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

             YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

             IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
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                   08 / 17 / 2015

                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

              In re:
              Bankruptcy Case No. 15−25019
              STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
              Adversary Proceeding No. 15−00592
              STEVEN SHUMAKE
              ASIA TATE
                                                                                                             Plaintiff
              v.
              CITY OF CHICAGO PARKING TICKETS
              COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: NATIONAL PAYMENT CENTER


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


             At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


             If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

             YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

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             RELIEF DEMANDED IN THE COMPLAINT.
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                   08 / 17 / 2015

                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

              In re:
              Bankruptcy Case No. 15−25019
              STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
              Adversary Proceeding No. 15−00592
              STEVEN SHUMAKE
              ASIA TATE
                                                                                                             Plaintiff
              v.
              CITY OF CHICAGO PARKING TICKETS
              COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: NORTHWEST COLLECTORS


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


             At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


             If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

             YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

             IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
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                   08 / 17 / 2015

                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

              In re:
              Bankruptcy Case No. 15−25019
              STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
              Adversary Proceeding No. 15−00592
              STEVEN SHUMAKE
              ASIA TATE
                                                                                                             Plaintiff
              v.
              CITY OF CHICAGO PARKING TICKETS
              COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: OPTIMUM OUTCOMES INC


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


             At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


             If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

             YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

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             RELIEF DEMANDED IN THE COMPLAINT.
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                   08 / 17 / 2015

                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

              In re:
              Bankruptcy Case No. 15−25019
              STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
              Adversary Proceeding No. 15−00592
              STEVEN SHUMAKE
              ASIA TATE
                                                                                                             Plaintiff
              v.
              CITY OF CHICAGO PARKING TICKETS
              COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: PAYDAY LOAN STORE


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


             At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


             If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

             YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

             IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
             JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
             RELIEF DEMANDED IN THE COMPLAINT.
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                   08 / 17 / 2015

                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

              In re:
              Bankruptcy Case No. 15−25019
              STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
              Adversary Proceeding No. 15−00592
              STEVEN SHUMAKE
              ASIA TATE
                                                                                                             Plaintiff
              v.
              CITY OF CHICAGO PARKING TICKETS
              COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: PEOPLES GAS


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


             At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


             If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

             YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

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             RELIEF DEMANDED IN THE COMPLAINT.
                   Date Issued


                   08 / 17 / 2015

                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

              In re:
              Bankruptcy Case No. 15−25019
              STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
              Adversary Proceeding No. 15−00592
              STEVEN SHUMAKE
              ASIA TATE
                                                                                                             Plaintiff
              v.
              CITY OF CHICAGO PARKING TICKETS
              COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: STANLEY ANDREW SHUMAKE, SR.


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


             At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


             If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

             YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

             IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
             JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
             RELIEF DEMANDED IN THE COMPLAINT.
                   Date Issued


                   08 / 17 / 2015

                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

              In re:
              Bankruptcy Case No. 15−25019
              STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
              Adversary Proceeding No. 15−00592
              STEVEN SHUMAKE
              ASIA TATE
                                                                                                             Plaintiff
              v.
              CITY OF CHICAGO PARKING TICKETS
              COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: STELLAR RECOVERY INC


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


             At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


             If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

             YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

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             JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
             RELIEF DEMANDED IN THE COMPLAINT.
                   Date Issued


                   08 / 17 / 2015

                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

              In re:
              Bankruptcy Case No. 15−25019
              STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
              Adversary Proceeding No. 15−00592
              STEVEN SHUMAKE
              ASIA TATE
                                                                                                             Plaintiff
              v.
              CITY OF CHICAGO PARKING TICKETS
              COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: TSI/980


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


             At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


             If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

             YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

             IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
             JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
             RELIEF DEMANDED IN THE COMPLAINT.
                   Date Issued


                   08 / 17 / 2015

                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



ILNB 2012
